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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE                 )
 OF THE NAACP, et al.,                         )
                                               ) Civil Action No.: 1:22-cv-00339
                Plaintiffs,                    )
                                               )
           v.                                  ) Judge Susan P. Baxter
                                               )
 LEIGH M. CHAPMAN, et al.,                     )
                                               )
                Defendants.                    )

                 INTERVENOR-DEFENDANTS’ MOTION TO DISMISS

       Intervenor-Defendants support and seek to uphold free and fair elections on behalf of all

Pennsylvanians. Intervenor-Defendants therefore respectfully move the Court to uphold the

General Assembly’s duly enacted laws governing Pennsylvania’s elections and to dismiss

Plaintiffs’ Complaint. Intervenor-Defendants submit the accompanying Memorandum of Law

demonstrating that Plaintiffs’ single-count Complaint “fail[s] to state a claim upon which relief

can be granted,” Fed. R. Civ. P. 12(b)(6), because the General Assembly’s duly enacted date

requirement for absentee and mail-in ballots does not implicate, let alone violate, the federal

materiality provision, 52 U.S.C. § 10101(a)(2)(B). 1

       WHEREFORE, Intervenor-Defendants respectfully request that the Court GRANT this

motion and DISMISS Plaintiffs’ Complaint.




       1
        Intervenor-Defendants are Individual Voters David Ball, James D. Bee, Debra Biro, Jesse
D. Daniel, Gwendolyn Mae DeLuca, Ross M. Farber, Lynn Marie Kalcevic, Vallerie Sicilano-
Biancaniello, and S. Michael Streib, and Republican Committees the Republican National
Committee, National Republican Congressional Committee, and Republican Party of
Pennsylvania.
      Case
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Dated: November 7, 2022                    Respectfully submitted,

                                           /s/ Kathleen A. Gallagher
                                           Kathleen A. Gallagher
                                           PA I.D. #37950
                                           Russell D. Giancola
                                           PA. I.D. #200058
                                           GALLAGHER GIANCOLA LLC
                                           436 Seventh Avenue, 31st Floor
                                           Pittsburgh, PA 15219
                                           Phone: (412) 717-1900
                                           kag@glawfirm.com
                                           rdg@glawfirm.com

                                           John M. Gore *
                                           E. Stewart Crosland
                                           JONES DAY
                                           51 Louisiana Avenue, N.W.
                                           Washington, D.C. 20001
                                           Phone: (202) 879-3939
                                           jmgore@jonesday.com
                                           msowardsnewton@jonesday.com
                                           scrosland@jonesday.com

                                           Thomas W. King, III
                                           Thomas E. Breth
                                           DILLON, McCANDLESS, KING,
                                            COULTER & GRAHAM, LLP
                                           128 W. Cunningham St.
                                           Butler, PA 16001
                                           Phone: (724) 283.2200
                                           tking@dmkcg.com
                                           tbreth@dmkcg.com

                                           Counsel for Petitioners

                                           * Pro hac vice application forthcoming




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